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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------- X
 Z.A., et al.

                                        Plaintiff( s),
                                                                           24 -CV-3742 (VSB)
                      - V -
                                                                       CASE MANAGEMENT PLAN
 Hyatt Corporation                                                     AND SCHEDULING ORDER


                                        Defendant(s).

----------------------------------------------------------X
VERNON S. BRODERICK, United States District Judge:

        Pursuant to Rules 16-26(f) of the Federal Rules of Civil Procedure, the Court hereby adopts
the following Case Management Plan and Scheduling Order:

1.      All parties [consent __ / do not consent ~ 1:0 conducting all further proceedings before
        a United States Magistrate Judge, including mofons and trial, pursuant to 28 U.S.C. §
        636(c). The parties are free to withhold consent without adverse substantive consequences.
        [.lf all consent, the remainder of the Order need not be completed at this time, and the
        parties should instead complete the AO 85 Notice, Consent, and Reference of a Civil
        Action to a Magistrate Judge, available at
        https://www.nysd.uscourts.gov/forms/consent-proceed-us-magistrate-iudge.]

2.      The parties [have~/          have not __J        engaged in settlement discussions.

3.      This case [is!__)      is not __J     to be tried to a jury.

4.      No additional parties may be joined after 30 days from the entry of this order absent a
        showing of good cause under Federal Rule of Civil Procedure 16.

5.      No additional causes of action or defenses may be asserted after 30 days from the entry of
        this order absent a showing of good cause under Federal Rule of Civil Procedure 16.

6.      Initial disclosures pursuant to Rule 26(a)(l) of the Federal Rules of Civil Procedure shall be
        completed no later than Sept. 24, 2024             _. [Absent exceptional circumstances,
        within 14 days of the date of the parties' conference pursuant to Rule 26(/).]

7.      All fact discovery is to be completed no later than Jan. 08, 2025         . [A period not
        to exceed 120 days unless the Court.finds that the case presents unique complexities or
        other exceptional circumstances.]
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8.     The parties are to conduct discovery in accordance with the Federal Rules of Civil
       Procedure and the Local Rules of the Southern District of New York. The following interim
       deadlines may be extended by the parties on consent without application to the Court,
       provided that the parties meet the deadline for completing fact discovery set forth in 1 7
       above.

       a.      Initial requests for production of documents shall be served by
               Oct. 01, 2024


       b.      Interrogatories shall be served by _o_c_t._0_1,
                                                          __
                                                           2_0_23
                                                               ____       _

       C.      Depositions shall be completed by Dec. 1:_5,_20_2_4
                                                              ____            _

               1.      Absent an agreement between the parties or an order from the Court,
                       depositions are not to be held until all parties have responded to initial
                       requests for document production.

               n.      There is no priority for depositions by reason of a party's status as a plaintiff
                       or a defendant.

               n1.     Absent an agreement between th~:parties or an order from the Court, non-
                       party depositions shall follow initial party depositions.

       d.      Requests for admissions shall be served no later than Dec. 22, 2024
                                                                        ---------
9.     All expert discovery, including disclosures, reports, production of underlying documents,
       and depositions shall be completed by _F_eb_._2a_._2_c_2_s
                                                          ____        _

I 0.   All discovery shall be complt!ted no later than Fl!b. 28, 2025
                                                         --------

11.    No later than _________                   [to he completed by tlte Court], the parties are to
       submit a joint letter updating the Court on the status of the case, including but not limited to
       whether either party intends to file a dispositive motion, what efforts the parties have made
       to settle the action, whether any discovery dispu-:esremain outstanding, and whether the
       parties request referral to a Magistrate Judge for settlement purposes. If either party
       contemplates filing a dispositive motion, the parties should be prepared to discuss a briefing
       schedule at the post-discovery conference.

12.    The Court will conduct a telephonic post-discov,~ryconference on
       at ____
                                                                        ---------
                    . [To he completed by the Court.] The dial-in number is 888-363-4749 and the
       conference code is 2682448.

13.    Unless otherwise ordered by the Court, the joint pretrial order and additional submissions
       required by Rule 6 of the Court's Individual Rules and Practices shall be due 30 days from
       the close of discovery, or if any dispositive moti,:mis filed, 30 days from the Court's
       decision on such motion. This case shall be trial ready 60 days from the close of discovery
       or from the Court's decision on any dispositive motion.



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14.   Counsel for the parties propose the following alternative dispute resolution mechanism for
      this case:

      a.          _x_ Referral to a Magistrate Judge for settlement discussions.

      b.          __ Referral to the Southern District's Mediation Program. [Note that all
                  employment discrimination cases and cases brought under the Fair Labor
                  Standards Act of 1938, 29 USC§ 201 <::tseq., are designated.for automatic
                  referral to the Court's Alternative Dispuie Resolution program of mediation.
                  Accordingly, counsel in such cases should select 14(b).]

      c.          __       Retention of a private mediator.

      The use of any alternative dispute resolution mechanism does not stay or modify any date
      in this Order.

15.   The parties have conferred and their present bes1 estimate of the len~th of trial is
          seven (7) days     .




 SO ORDERED.

 Dated:
          New York, New York



                                                              Vernon S. Broderick
                                                              United States District Judge




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